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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO

In re:                                         )
                                               )      Bankr. Case No.: 18-19327-KHT
RAED AMEEN ALNAMER,                            )
                                               )      Chapter 7
              Debtor.                          )
                                               )
                                               )
AMERICAN EXPRESS NATIONAL BANK,                )      Adv. Proc. No.:
                                               )
              Plaintiff,                       )
                                               )
v.                                             )
                                               )
RAED AMEEN ALNAMER aka                         )
RAED A. ALNAMER,                               )
                                               )
              Defendant.                       )
                                               )

     EXHIBIT A TO COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

Dated: January 31, 2019             By: /s/Paul G. Urtz
                                        Paul G. Urtz CO Bar #14339
                                        Miller & Urtz, LLC
                                        1660 Lincoln Street, Suite 2850
                                        Denver, CO 80264
                                        Telephone: (303) 861-1200
                                        Facsimile: (303) 830-0115
                                        Email: paulurtz@millerurtz.com




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                                                                    EXHIBIT A
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             Blue Cash Everyday® from American Express                                                                                        p. 1/4

             RAED A ALNAMER
             Closing Date 11/18/18                                                                                  Account Ending            3003


                                                                                               Get cash back for eligible
  New Balance                                                      $21,349.27                  purchases when you use the
  Minimum Payment Due                                               $3,288.89                  Card.
                                                                                               For more details about Rewards, please visit
      Includes the past due amount of $3,032.89                                                americanexpress.com/cashbackrewards
  Payment Due Date                                                    12/13/18               Account Summary
                                                                                               Previous Balance                     $21,349.75
                                                                                               Payments/Credits                         -$0.48
                                                                                               New Charges                              +$0.00
                                                                                               Fees                                     +$0.00
                                                                                               Interest Charged                         +$0.00




Minimum Payment Warning: If you make only the minimum payment each period,                     New Balance                         $21,349.27
you will pay more in interest and it will take you longer to pay off your balance. For         Minimum Payment Due                  $3,288.89
example:
                                                                                               Credit Limit                         $20,000.00
If you make no additional       You will pay off the balance    And you will pay an            Available Credit                          $0.00
charges and each month you      shown on this statement in      estimated total of...
                                                                                               Cash Advance Limit                         $0.00
pay...                          about...
                                                                                               Available Cash                             $0.00
        Only the                                                                               Days in Billing Period: 30
  Minimum Payment Due                     26 years                        $43,106

If you would like information about credit counseling services, call 1-888-733-4139.         Customer Care

     See page 2 for important information about your account.                                          Pay by Computer
                                                                                                       americanexpress.com/pbc

                                                                                               Customer Care          Pay by Phone
     Your account is cancelled.                                                                1-888-258-3741         1-800-472-9297

                                                                                                     See Page 2 for additional information.
                 AMERICAN EXPRESS® PERSONAL LOANS
Did you know American Express® offers Personal Loans ? Pre-approved Card Members
can apply for a loan of up to $40,000 with fixed monthly payments and APRs ranging
               from 6.98%-18.98%. Terms apply. Learn more by visiting
                         americanexpress.com/loanoffer20


                                                                     Continued on page 3



  Please fold on the perforation below, detach and return with your payment
 á                                                                             á
      Payment Coupon                          Pay by Computer                       Pay by Phone                    Account Ending       3003
      Do not staple or use paper clips        americanexpress.com/pbc               1-800-472-9297
                                                                                                       Enter 15 digit account # on all payments.
                                                                                                       Make check payable to American Express.


                   RAED A ALNAMER                                                                                           Payment Due Date
                   6429 S OAK HILL CIR                                                                                              12/13/18
                   AURORA CO 80016-2493
                                                                                                                                  New Balance
                                                                                                                                 $21,349.27
                                                                                                                       Minimum Payment Due
                                                                                                                                   $3,288.89



       Check here if your address or                   AMERICAN EXPRESS                                                $                 .
       phone number has changed.                       P.O. BOX 650448                                                       Amount Enclosed
       Note changes on reverse side.                   DALLAS TX 75265-0448

                                                       *752650448487*
                                                                     8889 15 Á
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            Blue Cash Everyday® from American Express                                                                                      p. 3/4

            RAED A ALNAMER
            Closing Date 11/18/18                                                                                  Account Ending          3003




  Payments and Credits
  Summary

                                                                                                                                          Total
Payments                                                                                                                                  $0.00
Credits                                                                                                                                  -$0.48
Total Payments and Credits                                                                                                              -$0.48


  Detail      *Indicates posting date

Credits                                                                                                                               Amount
11/08/18*     Credit for AMEX Error                                                                                                      -$0.48



  Fees

                                                                                                                                      Amount
Total Fees for this Period                                                                                                               $0.00



  Interest Charged

                                                                                                                                      Amount

Total Interest Charged for this Period                                                                                                   $0.00


About Trailing Interest

You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called "trailing
interest." Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that happens we charge
interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest on purchases by paying your
balance in full and on time each month. Please see the "When we charge interest" sub-section in your Cardmember Agreement for details.



  2018 Fees and Interest Totals Year-to-Date
                                                                                                                                      Amount
  Total Fees in 2018                                                                                                                   $179.00
  Total Interest in 2018                                                                                                              $1,611.25
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 Interest Charge Calculation
 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                   Transactions Dated                 Annual         Balance    Interest
                                                                                  Percentage       Subject to    Charge
                                                    From          To                    Rate    Interest Rate

Purchases                                       07/07/2018                         14.99% (v)          $0.00      $0.00

Cash Advances                                   07/07/2018                         27.24% (v)          $0.00      $0.00
Total                                                                                                             $0.00
(v) Variable Rate
